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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
ELLIE SHKOLIR, RASHAD WILLIAMS, and
EVGENI BADGAEV
                                                                        Case No.: 23-cv-7256
                                            Plaintiffs,
                 -against-
                                                                        ANSWER
RX2GO, INC., and
ERKIN SATTTAROV, an individual

                                             Defendants.
--------------------------------------------------------------------X

        The Defendants RX2GO, INC., and ERKIN SATTAROV (hereinafter referred to,

collectively, as the “Defendant”), November and through their attorneys, STEPHEN D. HANS

AND ASSOCIATES, P.C., as and for their Answer to the complaint dated and filed on September

28, 2023 (hereinafter the “Complaint”) by the plaintiff ELLIE SHKOLIR, RASHAD WILLIAMS

and EVGENI BADGAEV (hereinafter referred to as the “Plaintiff”), respond as follows:


                           AS AND FOR AN ANSWER TO PLAINTIFF’S
                         ALLEGATIONS REGARDING “INTRODUCTION”

1.         With respect to the allegations contained in Paragraph 1 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

2.         With respect to the allegations contained in Paragraph 2 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.
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3.       With respect to the allegations contained in Paragraph 3 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.


                     AS AND FOR AN ANSWER TO PLAINTIFF’S
               ALLEGATIONS REGARDING “JURISDICTION AND VENUE”

4.       With respect to the allegations contained in Paragraph 4 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required

5.       With respect to the allegations contained in Paragraph 5 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

6.       With respect to the allegations contained in Paragraph 6 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

                         AS AND FOR AN ANSWER TO PLAINTIFF’S
                        ALLEGATIONS REGARDING “THE PARTIES”

7.       With respect to the allegations contained in Paragraph 7 of the Complaint, the Defendants

admit all of the allegations contained in such Paragraph.

8.       With respect to the allegations contained in Paragraph 8 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

9.       With respect to the allegations contained in Paragraph 9 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.



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10.      With respect to the allegations contained in Paragraph 10 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

11.      With respect to the allegations contained in Paragraph 11 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

12.      With respect to the allegations contained in Paragraph 12 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

13.      With respect to the allegations contained in Paragraph 13 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

14.      With respect to the allegations contained in Paragraph 14 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

15.      With respect to the allegations contained in Paragraph 15 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

16.      With respect to the allegations contained in Paragraph 16 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

17.      With respect to the allegations contained in Paragraph 17 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.




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18.      With respect to the allegations contained in Paragraph 18 of the Complaint, the Defendants

admit all of the allegations contained in such Paragraph.

19.      With respect to the allegations contained in Paragraph 19 of the Complaint, the Defendants

admit all of the allegations contained in such Paragraph.

20.      With respect to the allegations contained in Paragraph 20 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

21.      With respect to the allegations contained in Paragraph 21 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

22.      With respect to the allegations contained in Paragraph 22 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

23.      With respect to the allegations contained in Paragraph 23 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

24.      With respect to the allegations contained in Paragraph 24 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph..

25.      With respect to the allegations contained in Paragraph 25 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

26.      With respect to the allegations contained in Paragraph 26 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.


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27.      With respect to the allegations contained in Paragraph 27 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

28.      With respect to the allegations contained in Paragraph 28 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

29.      With respect to the allegations contained in Paragraph 29 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

30.      With respect to the allegations contained in Paragraph 30 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

31.      With respect to the allegations contained in Paragraph 31 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

32.      With respect to the allegations contained in Paragraph 32 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

33.      With respect to the allegations contained in Paragraph 33 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

34.      With respect to the allegations contained in Paragraph 34 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

35.      With respect to the allegations contained in Paragraph 35 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

36.      With respect to the allegations contained in Paragraph 36 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

37.      With respect to the allegations contained in Paragraph 37 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.


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38.      With respect to the allegations contained in Paragraph 38 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

39.      With respect to the allegations contained in Paragraph 39 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

40.      With respect to the allegations contained in Paragraph 40 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

41.      With respect to the allegations contained in Paragraph 41 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

42.      With respect to the allegations contained in Paragraph 42 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

                      AS AND FOR AN ANSWER TO PLAINTIFF’S
                ALLEGATIONS REGARDING “FIRST CAUSE OF ACTION”
                  FAIR LABOR STANDARDS ACT (FLSA) VIOLATIONS


43.      The Defendants repeats and reasserts each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effects as though fully set forth herein.

44.      With respect to the allegations contained in Paragraph 44 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

45.      With respect to the allegations contained in Paragraph 45 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

46.      With respect to the allegations contained in Paragraph 46 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

47.      With respect to the allegations contained in Paragraph 47 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.



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48.      With respect to the allegations contained in Paragraph 48 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

49.      With respect to the allegations contained in Paragraph 49 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

50.      With respect to the allegations contained in Paragraph 50 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

51.      With respect to the allegations contained in Paragraph 51 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

52.      With respect to the allegations contained in Paragraph 52 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

53.      With respect to the allegations contained in Paragraph 53 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

54.      With respect to the allegations contained in Paragraph 54 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

55.      With respect to the allegations contained in Paragraph 55 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

56.      With respect to the allegations contained in Paragraph 56 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

57.      With respect to the allegations contained in Paragraph 57 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.


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58.      With respect to the allegations contained in Paragraph 58 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

59.      With respect to the allegations contained in Paragraph 59 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

60.      With respect to the allegations contained in Paragraph 60 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

61.      With respect to the allegations contained in Paragraph 61 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

62.      With respect to the allegations contained in Paragraph 62 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

                     AS AND FOR AN ANSWER TO PLAINTIFF’S
               ALLEGATIONS REGARDING “SECOND CAUSE OF ACTION”
                    NEW YORK LABOR LAW (NYLL) VIOLATIONS


63.      The Defendants repeats and reasserts each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effects as though fully set forth herein.

64.      With respect to the allegations contained in Paragraph 64 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

65.      With respect to the allegations contained in Paragraph 65 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

66.      With respect to the allegations contained in Paragraph 66 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.



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67.      With respect to the allegations contained in Paragraph 67 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

68.      With respect to the allegations contained in Paragraph 68 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

69.      With respect to the allegations contained in Paragraph 69 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

70.      With respect to the allegations contained in Paragraph 70 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

71.      With respect to the allegations contained in Paragraph 71 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

72.      With respect to the allegations contained in Paragraph 72 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

73.      With respect to the allegations contained in Paragraph 73 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

74.      With respect to the allegations contained in Paragraph 74 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

75.      With respect to the allegations contained in Paragraph 75 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.


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76.       With respect to the allegations contained in Paragraph 76 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

77.       With respect to the allegations contained in Paragraph 77 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

78.       With respect to the allegations contained in Paragraph 78 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

79.       With respect to the allegations contained in Paragraph 79 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

80.       With respect to the allegations contained in Paragraph 80 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

                     AS AND FOR AN ANSWER TO PLAINTIFF’S
                ALLEGATIONS REGARDING “THIRD CAUSE OF ACTION”
                              FLSA- RETALIATION

81.       The Defendants repeats and reasserts each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effects as though fully set forth herein.

82.       With respect to the allegations contained in Paragraph 82 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

83.       With respect to the allegations contained in Paragraph 83 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.




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84.       With respect to the allegations contained in Paragraph 84 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

85.       With respect to the allegations contained in Paragraph 85 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

86.       With respect to the allegations contained in Paragraph 86 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

87.       With respect to the allegations contained in Paragraph 87 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

88.       With respect to the allegations contained in Paragraph 88 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

89.       With respect to the allegations contained in Paragraph 89 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

                 AS AND FOR AN ANSWER TO PLAINTIFF’S
  ALLEGATIONS REGARDING “FIRST CAUSE OF ACTION”(was incorrectly numbered)


90.       The Defendants repeats and reasserts each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effects as though fully set forth herein.

91.       With respect to the allegations contained in Paragraph 91 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

92.       With respect to the allegations contained in Paragraph 92 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.




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                     AS AND FOR AN ANSWER TO PLAINTIFF’S
               ALLEGATIONS REGARDING “FOURTH CAUSE OF ACTION”
                  FREELANCE ISN’T FREE ACT (“FIFA”) VIOLATIONS


93.       The Defendants repeats and reasserts each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effects as though fully set forth herein.

94.       With respect to the allegations contained in Paragraph 94 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

95.       With respect to the allegations contained in Paragraph 95 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

96.       With respect to the allegations contained in Paragraph 96 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

97.       With respect to the allegations contained in Paragraph 97 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law and/or statements calling

for a legal conclusion, to which no responsive pleading is required.

98.       With respect to the allegations contained in Paragraph 98 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

99.       With respect to the allegations contained in Paragraph 99 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.




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                      AS AND FOR AN ANSWER TO PLAINTIFF’S
                 ALLEGATIONS REGARDING “FIFTH CAUSE OF ACTION”
                    BREACH OF CONTRACT/ UNJUST ENRICHMENT


100.     The Defendants repeats and reasserts each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effects as though fully set forth herein.

101.     With respect to the allegations contained in Paragraph 101 of the Complaint the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

102.     With respect to the allegations contained in Paragraph 101 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

103.     With respect to the allegations contained in Paragraph 103 of the Complaint, the Defendants

deny all of the allegations contained in such Paragraph.

               RESPONSE TO PLAINTIFF’S PRAYER FOR RELIEF


       The Defendants, upon information and belief, deny all statements made with respect to

Defendants and assert that the Plaintiff is not entitled to any of the relief from the Defendants as

sought in the Plaintiff’s Prayer for Relief, including subparagraphs (A) through (I) thereof.

                    AFFIRMATIVE DEFENSES AND OTHER DEFENSES


       The Defendants assert the following affirmative defenses and other defenses without

assuming any burden of production or proof that they would not otherwise have. The Defendants

further assert that, to the extent that the Plaintiff’s claims as alleged are vague or unclear, so as to

render it difficult or impossible to identify and assert every possible affirmative defense or other

defense, the Defendants hereby expressly reserve their rights to assert additional defenses should

further proceedings in this action, including the progress of any discovery, reveal that such additional

defenses would be applicable and appropriate.

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           AS AND FOR A FIRST DEFENSE TO THE PLAINTIFF’S COMPLAINT


         The Complaint, and each of the claims and causes of action set forth therein, fail to state a

claim upon which relief can be granted.


          AS AND FOR A THIRD DEFENSE TO THE PLAINTIFF’S COMPLAINT

         All decisions made by the Defendants with respect to Plaintiff and all actions taken with

respect to his employment were made without malice, ill will, fraud, oppression or any other improper

motive.

          AS AND FOR A FOURTH DEFENSE TO THE PLAINTIFF’S COMPLAINT


         Plaintiff’s claims are barred under the doctrines of waiver, laches, estoppel, and/or unclean

hands.

         AS AND FOR A FIFTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

         The Plaintiff were not employees, nor hired as such and legally classified as independent

contractors.

            RESERVATION OF RIGHTS TO ASSERT ADDITIONAL DEFENSES


         The Defendants state that they currently have insufficient knowledge or information on which

to form a belief as to whether they may have additional, as yet unstated, defenses available. As such,

the Defendants expressly reserve the right to assert additional defenses, and to seek to amend this

answer to include any such additional defenses, in the event that discovery indicates that any such

additional defenses would be appropriate.

         WHEREFORE, the Defendants respectfully request that judgment be entered by this Court

dismissing any claims in the Plaintiff’s Complaint that may be lacking in merit, with prejudice, and

granting such further relief as may be just and proper.


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Dated: Long Island City, New York
       October 23, 2023


                                      STEPHEN D. HANS & ASSOCIATES, P.C.



                                      By:_____/s/Stephen D. Hans______________
                                         Stephen D. Hans (SH-0798)
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                                         Long Island City, New York 11101
                                         Tel: 718.275.6700
                                         Attorneys for the Defendants




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